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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION




STATE OF FLORIDA,

      Plaintiff,

v.                                                       Case No. 21-cv-541

UNITED STATES OF AMERICA, et
al.

      Defendants.



                   NOTICE OR, IN THE ALTERNATIVE, MOTION TO DISMISS

      Defendants hereby request that the Court construe its opposition to Plaintiff’s

preliminary injunction motion as a motion to dismiss, see ECF No. 23, attached hereto as

Ex. 1, or in the alternative move to dismiss Plaintiff’s Complaint pursuant to Rule 12 for

the reasons stated therein and below.

      In light of the briefing over Plaintiff’s Motion for a Preliminary Injunction,

including Defendants’ arguments going to the Court’s jurisdiction, and the ensuing oral

argument, Defendants believe it would be inefficient for separate, repetitive briefing and

consideration of these same issues on a motion to dismiss. Any such motion by

Defendants would merely reiterate the arguments from their preliminary injunction

motion response, including the jurisdictional and threshold Administrative Procedure Act

(“APA”) challenges, and arguments for why Plaintiff’s APA claims fail on the merits. The

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Supreme Court has recognized that it is appropriate to “terminate the litigation” at the

preliminary injunction stage if the “Government is entitled to judgment as a matter of

law.” Munaf v. Geren, 553 U.S. 674, 692 (2008); see also Ark. Dairy Coop Ass’n v. U.S. Dep’t

of Agric., 573 F.2d 815, 832-33 (D.C. Cir. 2009) (remanding for dismissal of certain claims

in consideration of whether a preliminary injunction should be granted); Arpaio v. Obama,

1:14-cv-1966, ECF No. 24 (D.D.C. Dec. 23, 2014) (dismissing action after Court

construed defendants’ preliminary injunction response as a motion to dismiss).

        Thus, if the Court denies Florida’s motion for a preliminary injunction on

jurisdictional grounds, it should dismiss Florida’s Complaint pursuant to Rule 12(b)(1),

and if it denies the motion on the merits, it should accordingly dismiss Plaintiffs’

Complaint pursuant to Rule 12(b)(6). Defendants conferred with Florida, which indicated

that it opposes Defendants’ request to construe its preliminary injunction response as a

motion to dismiss.

        To the extent the Court is not inclined to construe Defendants’ preliminary

injunction response as a motion to dismiss, Defendants hereby move to dismiss Florida

Complaint in full pursuant to Rules 12(b)(1) and 12(b)(6) for the reasons stated in

Defendants’ opposition to Florida’s motion for preliminary injunction. See Ex. 11 hereto

(ECF No. 23) at 7-10 (arguing the Court lacks Article III standing) and 11-25 (arguing

that Plaintiff’s fail to state a claim).




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 Defendants rely upon, and incorporate, their preliminary injunction opposition subject to any
further clarification by Defendants concerning the arguments therein.

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Dated: May 7, 2021                          Respectfully submitted,

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